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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In re:                                      )         No. 19-18467
                                             )
 AMERICAN PAIN SOCIETY,                      )         Chapter 7
                                             )
                          Debtor.            )         Honorable Deborah Thorne
                                             )
                                             )         Hearing Date: October 29, 2019
                                             )         Hearing Time: 9:30 a.m.
                                             )         Room No.:     613


                                       NOTICE OF MOTION


TO:       See attached Service List.

       On October 29, 2019 at 9:30 a.m., or as soon thereafter as counsel may be heard, I shall
appear before Judge Deborah Thorne in Courtroom 613, Dirksen Federal Courthouse, 219 S.
Dearborn, Chicago, Illinois, and shall then and there present the attached TRUSTEE’S MOTION
TO APPROVE SETTLEMENT AND FOR OTHER RELIEF, a copy of which is attached.

Dated: October 18, 2019

                                                 Respectfully Submitted,

                                                 MICHAEL K. DESMOND, not individually but
                                                 solely in his capacity as Chapter 7 Trustee for
                                                 the bankruptcy estate of AMERICAN PAIN
                                                 SOCIETY,

                                                 By:      /s/ Michael K. Desmond____
                                                          One of his Attorneys


Michael K. Desmond (#6208809)
Justin M. Herzog (#6324047)
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In re:                                      )     No. 19-18467
                                             )
 AMERICAN PAIN SOCIETY,                      )     Chapter 7
                                             )
                         Debtor.             )     Honorable Deborah Thorne
                                             )
                                             )     Hearing Date: October 29, 2019
                                             )     Hearing Time: 9:30 a.m.
                                             )     Room No.:      613


               TRUSTEE’S MOTION TO APPROVE SETTLEMENT AGREEMENT
                              AND FOR OTHER RELIEF

          Michael K. Desmond, not individually but solely in his capacity as Chapter 7 Trustee

(“Trustee”) of the bankruptcy estate of American Pain Society (“the Debtor”), by his attorneys and

pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

moves this Court to approve a settlement with Elsevier, Inc. and for other relief (“Motion”). In

support of this Motion, the Trustee respectfully states as follows:

                                         JURISDICTION

          1.     This Court has jurisdiction to consider the Application pursuant to 28 U.S.C. §§

157 and 1334. Venue is proper in this district pursuant to 28 U.S.C. § 1408.

          2.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

          3.     The statutory predicates for the relief requested in this Motion are 11 U.S.C. §363

and Bankruptcy Rule 9019.

                                         BACKGROUND

          4.     On June 28, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the U.S.



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Bankruptcy Court for the Northern District of Illinois, Eastern Division (the “Bankruptcy Court”),

thereby commencing the above-entitled case and creating the Debtor’s estate (the “Estate”).

        5.     The Trustee was appointed as the chapter 7 trustee of the Estate on the Petition

Date.

        6.     Prior to the Petition Date, the Debtor operated a professional membership

organization and served as a national chapter of the International Association for the Study of Pain.

Disciplines represented include medicine, dentistry, psychology, nursing, physical therapy,

pharmacy, basic science, government, law, business and industry.

        7.     The Debtor holds the copyright and trademark rights to widely circulated monthly

medical research journal known as “The Journal of Pain”, which provides a platform in which

clinical researchers, basic scientists, clinicians, and other healthcare professionals can publish

original research regarding patient care, education, and health policy. The rights to The Journal

of Pain are a significant asset to the Estate, and the Trustee intends to sell those rights.

        8.     On September 7, 2017, the Debtor entered into a five-year Journal Publishing

Agreement with Elsevier, Inc., which runs through December 31, 2022 (“Publishing Agreement”).

In exchange for granting Elsevier a license to publish The Journal of Pain, the Debtor receives

annual minimum guaranteed royalties of $250,000.00, a fixed annual editorial stipend and the

Debtor received an upfront signing bonus of $500,000.00. In exchange, the Debtor pays Elsevier

a monthly member subscription fee and the Debtor pays a monthly stipend to the Editorial Staff.

A true and correct copy of the Publishing Agreement is attached hereto as Exhibit A.

        9.     On or about July 22, 2019, Elsevier served notice on the Trustee that it was

terminating the Publishing Agreement effective September 1, 2019, and demanded a return of a

pro-rata share of the signing bonus in the amount of $300,000.00, paid to the Debtor pursuant to



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Section 6.12 of the Publishing Agreement. The Trustee disputed Elsevier’s right to terminate the

Publishing Agreement and the Estate’s obligation to refund any portion of the signing bonus.

        10.        Since the Petition Date, Elsevier has continued to publish the Journal of Pain for

the months of July, August, and September but has demanded that the Trustee assume the

Publishing Agreement and pay all cure costs due Elsevier.

                                          THE SETTLEMENT

        11.        The parties have reached a mutual agreement whereby Elsevier will continue to

publish the Journal of Pain through December 31, 2019, while the Trustee attempts to market and

sell the rights to the Journal of Pain.

        12.        The material terms of the settlement are outlined below:

              a.      Elsevier agrees to continue to publish The Journal of Pain through December
                      31, 2019;

              b.      The Estate shall pay Elsevier monthly member subscription fees through
                      December 31, 2019, in the approximate amount of $9,000.00 per month, and
                      will pay the outstanding invoices for the months of July 2019, August 2019,
                      and September 2019 in the amounts of $6,992.64, $9,007.49, and $9,007.49,
                      respectively. Elsevier shall be entitled to an allowed Chapter 7 administrative
                      claim pursuant to 503(b) for any unpaid subscription fees accruing between July
                      1, 2019 and December 31, 2019;

              c.      The Estate shall continue to pay the cost of the Editor-in-Chief (Dr. Mark
                      Jensen) and his staff for the period September 1, 2019 through December 31,
                      2019, estimated to be approximately $11,400.00 per month;

              d.      Elsevier shall be required to pay the Estate for all unpaid Editorial fees pursuant
                      to Section 6.2 of the Contract through December 31, 2019. The annual editorial
                      fee due to the Debtor for 2019 is $242,123.00, or approximately $20,176.91 per
                      month;

              e.      Elsevier shall be required to pay the Estate for any royalties accruing between
                      the period from July 1, 2019 through December 31, 2019, if any, pursuant to
                      Section 6.1 of the Contract, and will provide a statement to the Trustee pursuant
                      to Section 6.1(c) within a reasonable period of time following the expiration of
                      this Agreement (“the Final Accounting”);


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             f.      In full satisfaction of any and all claims for cure costs relating to repayment of
                     the signing bonus pursuant to Section 6.12 of the Publishing Agreement,
                     Elsevier shall have an allowed Chapter 7 Administrative Expense claim against
                     the Estate for $50,000.00. (“Allowed Administrative Expense”). Such Allowed
                     Administrative Expense shall be reduced by any unpaid royalties and editorial
                     fees accruing between the period from July 1, 2019 through December 31, 2019,
                     which are due to the Estate pursuant to this Agreement. Further, Elsevier shall
                     have an allowed unsecured pre-petition claim for the pro-rata portion of the
                     signing bonus repayable to Elsevier, net of the Allowed Administrative
                     Expense, estimated to be $250,000.00.

The term sheet between the parties is attached hereto as Exhibit B.

       13.        The Trustee believes this settlement is in the best interest of the Estate as it will

ensure the continued publication of The Journal of Pain, while the Trustee attempts to locate a

qualified buyer.

                                BASIS FOR RELIEF REQUESTED

       14.        Bankruptcy Rule 9019(a) authorizes this Court to approve the Settlement

Agreement if doing so would be in the best interests of the Debtor’s Estate, stating in relevant part

that “on motion by the trustee and after notice and a hearing, the court may approve a compromise

or settlement.”

       15.        Compromises are favored in bankruptcy as they serve to expedite the administration

of the case and reduce administrative costs. See, e.g., Fogel v. Zell, 221 F.3d 955, 960 (7th Cir.

2000); In re Martin, 91 F.3d 389, 393 (3rd Cir. 1996) (“To minimize litigation and expedite the

administration of a bankruptcy case, ‘[c]ompromises are favored in bankruptcy.’”) (quoting 9

Collier on Bankruptcy, at 9019.03[1] (15th Ed. 1993)).

       16.        The Court should approve the Settlement Agreement if doing so is in the best

interest of the Debtor’s Estate. See In re Andreuccetti, 975 F.2d 413, 421 (7th Cir. 1992); In re

Energy Co-op., Inc., 886 F.2d 921, 927 (7th Cir. 1989); In re American Reserve Corp., 841 F.2d

159, 161 (7th Cir. 1987); In re Griffin Trading Company, 270 B.R. 883, 903 (Bankr. N.D. Ill.

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2001), aff’d, 270 B.R. 905 (N.D. Ill. 2001); In re Commercial Loan Corp., 316 B.R. 690, 697

(Bankr. N.D. Ill. 2004).

        17.     In making that determination, the Court must compare the terms of settlement with

the probability of success, the litigation’s complexity, and the litigation’s attendant expense,

inconvenience and delay (including the possibility that disapproving the settlement will cause

wasting of assets). See American Reserve Corp., 841 F.2d at 161; In re Resource Technology

Corp., 2005 WL 43262, at * 2 (N.D. Ill. Jan. 10, 2005).

        18.     Although any given settlement may not provide the ideal allocation of funds from

the perspective of any given litigant, the Court may “give weight to the trustee’s informed

judgment in considering an agreement and need not decide the numerous questions of law and fact

raised by the parties.” Id. at * 3 (internal citation omitted).

        19.     It is well established that a trustee’s business judgment should be approved unless

the proposed settlement falls beneath the lowest range of reasonable litigation outcomes. See

Energy Co-op., 886 F.2d at 929; In re Artra Group, Inc., 300 B.R. 699, 702 (Bankr. N.D. Ill. 2003);

In re Telesphere Communications, Inc., 229 B.R. 173, 181 (Bankr. N.D. Ill. 1999).

        20.     The Trustee submits that in his business judgment, after consulting with counsel,

the proposed settlement is fair and equitable and in the best interests of the Debtors’ Estate. In

determining to enter into the Settlement Agreement with Elsevier, the Trustee considered, among

other things: (a) injuries and damages sustained by the Debtor to date; (b) the cost of litigation; (c)

preserving the value a potential sale of the of the Journal of Pain will bring to the Estate; (d) the

funds remaining in the Debtors’ Estate; d) the number of claims filed against the Estate; and (e)

the value of a potential distribution to allowed claims against the Estate.




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       21.     The Trustee submits that the proposed Settlement Agreement is particularly

advantageous in consideration of the risks of litigation and the potential loss in the market value

of the Journal of Pain.

                                 REQUEST TO SHORTEN NOTICE

       22.     At least ten (10) days written notice of this Motion has been served on the Debtor,

Debtor’s Counsel, all creditors, all parties who have requested notice of all pleadings filed in the

Bankruptcy Case, and the Office of the United States Trustee.

       23.     The Trustee requests that the Court deem the Notice of this Motion to be sufficient,

and further notice of the Motion may be waived for cause shown pursuant to Fed. R. Bankr. P.

9006(c) and 9007.

       WHEREFORE, the Trustee respectfully requests that this Court enter an order:


       (a)     Approving the Settlement Agreement with Elsevier as outlined in the Motion;

       (b)     Authorizing the Trustee to undertake such other acts as may be reasonable and

necessary to consummate the Settlement Agreement, including but not limited to, executing the

Settlement Agreement and any other necessary paperwork and paying the subscription fees to

Elsevier for the period July 1, 2019 through December 31, 2019, pursuant to the terms of the

Settlement Agreement;

       (c)     Granting Elsevier an allowed Chapter 7 administrative expense claim in the amount

of $50,000.00, less any unpaid royalties and editorial fees due to the Debtor for the period from

July 1, 2019 through December 31, 2019 pursuant to the terms of the Settlement Agreement;

       (d)     Granting Elsevier an allowed pre-petition general unsecured claim in the amount

of $250,000;




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      (e)    Authorizing the Trustee to grant Elsevier the right to continue to publish The

Journal of Pain through December 31, 2019;

      (f)    Approving the notice of this Motion sent by Trustee; and

      (g)    Granting such further relief as is fair and just.



Dated: October 18, 2019

                                             Respectfully Submitted,

                                             MICHAEL K. DESMOND, not individually but
                                             solely in his capacity as Chapter 7 Trustee for
                                             the bankruptcy estate of AMERICAN PAIN
                                             SOCIETY,

                                             By:     /s/ Michael K. Desmond____
                                                     One of his Attorneys


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                                 CERTIFICATE OF SERVICE

The undersigned attorney states that on October 18, 2019, a copy of the attached:

                         NOTICE OF MOTION
                                and
   TRUSTEE’S MOTION TO APPROVE SETTLEMENT AND FOR OTHER RELIEF

will be served on all counsel listed below in accordance with the General Order on Electronic Case
Filing and subject to the provisions of Fed. R. Civ. P. 5(b)(3), the Notice of Electronic Filing that
is issued through the court's Electronic Case Filing System will constitute service under Fed. R.
Civ. P. 5(b)(2)(D) and Fed. R. Crim. P. 49(b) as to all Filing Users in a case assigned to the court's
Electronic Case Filing System.

                                                      By:     /s/ Michael K. Desmond


Mailing Information for Case 19-18467

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

      Steven B. Chaiken schaiken@ag-ltd.com
      Michael K Desmond mkd.trustee@fslegal.com, IL23@ecfcbis.com
      Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov




Manual Notice List – Via 1st Class Mail

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(Debtor)



Creditor List




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Chicago Regional Council of Carpenters Welfare Fund
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  Kimberly M. Foxx

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The Village of Evergreen Park Attn: Allen
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